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              Index of Additional Administrative Record Excerpts
        in Support of Defendants’ Cross-Motion for Summary Judgment
           and Response to Plaintiff’s Motion for Summary Judgment


        Defendants submit the following additional excerpts from the Administrative
Record in support of their Cross-Motion for Summary Judgment and Response to
Plaintiff’s Motion for Summary judgment.
        This list comprises only excerpts that have not already been filed in
connection with Plaintiff’s Motion. While Defendants rely on many of the same
record excerpts that were appended to Plaintiff’s motion, Defendants have not
resubmitted the voluminous sections of the administrative record that were filed by
Plaintiff because they are already before the Court.
        Numbers 8-10 on this list have been filed separately under seal, in accordance
with LRCiv. 5.6.



Number AR Range                         Document Description

   1.       AR-J-0009-0012              Letter from Donna S. Mangold to Dennis
                                        Johnson & Jonathon Glass, with attachment
                                        (May 17, 2018)

   2.       AR-J-0097-0098              Email correspondence between Dennis
                                        Cariello and Donna Mangold
                                        (Feb. 15-16, 2018)

   3.       AR-J-0099                   Email from Donna Mangold to Dennis M.
                                        Cariello (Feb. 16, 2018)

   4.       AR-J-0100-0105              Email correspondence between Donna
                                        Mangold and Dennis Cariello
                                        (May 18-Apr. 30, 2018)
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    5.      AR-J-0106           Email from Dennis Cariello to Donna
                                Mangold (May 18, 2018)

    6.      AR-J-0156-0157      Letter from Donna Mangold to Dennis
                                Cariello & Jonathon Glass (Sept. 10, 2018)

    7.      AR-J-0352-0356      Email correspondence between Department
                                of Education and Grand Canyon University
                                (Nov. 12-Nov. 14, 2020)

    8.      AR-E-0001-0014      GCU Board Minutes and accompanying
                                Presentation (July 26, 2017)*

    9.      AR-E-0091-0101      GCU Board Minutes and accompanying
                                Presentation (October 26, 2017)*

   10.      AR-F-0001-0606      Gazelle University’s IRS Form 1023
                                Application (October 8, 2015)*


* Indicates filed under seal.
